Case 2:02-cr-20446-.]PI\/| Document 55 Filed 08/23/05 Page 1 of 2 Page|D 43

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IN THE UNITED sTATEs DISTRICT cOURT 05liUG 23 pH w 28
FoR THE wEsTERN DISTRICT OF TENNESSEE

wEsTERN DIvIsION l}£)Me§ M_ GOULD

MUDFRA&MMW

UNITED sTATEs oF AMERICA,
Plaintiff,

v. cr. No. 02-20446 Ml

LAsTER AMIKER,

Defendant.

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ORDER OF REFERENCE

 

Before the Court is the Motion for Continued Appointment as

Counsel Under Criminal Justice Act, filed August 22, 2005.

This matter is referred to the United States Magistrate
Judge for determination. Any exceptions to the magistrate
judge's report shall be made within ten (10) days of the
magistrate judge's report, setting forth particularly those
portions of the order excepted to and the reasons for the

exceptions.

IT IS SO ORDERED THIS am DAY OF August, 2005.

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JO PHIPPS MCCALLA
TED STATES DISTRICT JUDGE

 

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UNITED sTATE ISTRIC COURT - WETERN D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 55 in
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Honorable J on McCalla
US DISTRICT COURT

